Case 2:18-cv-05422-CAS-GJS Document 181 Filed 08/17/20 Page 1 of 4 Page ID #:17351



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   14 INSURANCE COMPANY
   15
                             UNITED STATES DISTRICT COURT
   16
                            CENTRAL DISTRICT OF CALIFORNIA
   17
        GAIL THOMPSON, et al.,                Case No. 2:18-cv-05422-CAS-GJSx
   18                                         (Honorable Christina A. Snyder )
                       Plaintiffs,
   19                                         CLASS ACTION
        v.
   20                                          DECLARATION OF ALIZA KLAU
      TRANSAMERICA LIFE INSURANCE              IN SUPPORT OF DEFENDANT
   21 COMPANY,                                 TRANSAMERICA LIFE
                                               INSURANCE COMPANY’S
   22                  Defendant.              MEMORANDUM OF POINTS AND
                                               AUTHORITIES IN OPPOSITION
   23                                          TO OBJECTIONS TO THE
                                               PROPOSED SETTLEMENT
   24
                                              Hearing Date: August 31, 2020
   25
                                              Time: 10:00 a.m.
   26                                         Court: Courtroom 8D
   27                                         First Am. Compl. Filed: May 8, 2019
   28
Case 2:18-cv-05422-CAS-GJS Document 181 Filed 08/17/20 Page 2 of 4 Page ID #:17352



    1    I, Aliza Klau, declare as follows:
    2         1.     I am an Assistant Actuary, Inforce Management at Defendant
    3   Transamerica Life Insurance Company (“TLIC”). I have been employed by TLIC
    4   since 2003. I was involved in the implementation of the 2017 and 2018 monthly
    5   deduction rate (“MDR”) increases as part of my job responsibilities at TLIC. I have
    6   personal knowledge of the facts set forth herein, and if called as a witness could
    7   competently testify thereto.
    8   The Policies and the 2017 and 2018 MDR Increases
    9         2.     When the 1998 and 1999 versions of the TransUltra 115 universal life
   10   insurance policies and the 1997, 1998, and 1999 versions of the TransSurvivor 115
   11   universal life insurance policies were issued, TLIC set MDR schedules (the original
   12   MDR schedules). The original MDR schedules were used in TLIC’s calculation of
   13   the monthly deductions (“MDs”) withdrawn from the Policies’ Accumulation
   14   Value. The MDRs under the original MDR schedules generally increased as
   15   insureds age and were set at or below the guaranteed maximum MDR schedules
   16   contained in the Policies.
   17         3.     When TLIC implemented the 2017-2018 MDR increases, the increase
   18   was applied over the original MDR schedules.
   19         4.     TLIC approved a 58% MDR increase over the original MDR
   20   schedules for the 1998 and 1999 versions of the TransUltra 115 Policies and began
   21   implementing the increase on Policy anniversaries in October 2017. The amount of
   22   the implemented increase was at or below the guaranteed maximum MDR
   23   schedules.
   24         5.     TLIC approved a one-time 47% MDR increase over the original MDR
   25   schedules for the 1997 version of the TransSurvivor 115 Policies and began
   26   implementing the increase on Policy anniversaries in in June 2018. The amount of
   27   the implemented increase was at or below the guaranteed maximum MDR
   28   schedules.
                                                       1
             Declaration of Aliza Klau in Support of TLIC’s Response to Objections to Settlement
Case 2:18-cv-05422-CAS-GJS Document 181 Filed 08/17/20 Page 3 of 4 Page ID #:17353



    1         6.     TLIC approved three consecutive, compounding 39% annual increases
    2   against the MDRs for the corresponding year over the original MDR schedules.
    3   TLIC began implementing the increase on Policy anniversaries in June 2018. The
    4   amount of the implemented increase was at or below the guaranteed maximum
    5   MDR schedules.
    6         7.     Most of the TransUltra 115 and the TransSurvivor 115 Policies include
    7   an endorsement called the Endorsement to Modify Grace Period, also referred to as
    8   the Assured Coverage Endorsement or “ACE.”
    9         8.     For each Policy with the ACE, the Policy data pages specify both the
   10   Select Period and the Select Monthly Premium required to keep the ACE in effect.
   11   The Select Period generally extends until the insured reaches age 100 (or for joint
   12   life polices, until the younger of the two insureds reaches age 100). The ACE also
   13   includes other conditions that must be satisfied to keep it in effect.
   14   TLIC’s Participation in Administration of the Proposed Settlement
   15         9.     TLIC provided estimated proposed Settlement Relief to the Settlement
   16   Administrator Rust Consulting LLC (“Rust”) to provide to Settlement Class
   17   Members upon request. This is the same type of information that TLIC provided to
   18   Rust in connection with the settlement in Feller v. Transamerica Life Ins. Co.
   19         10.    TLIC also prepared its illustration software to provide illustrations to
   20   policyowners depicting potential future policy performance with and without the
   21   Settlement Relief.
   22         11.    As of August 4, 2020, TLIC provided approximately 20 settlement
   23   illustrations relating to the potential Thompson settlement.
   24   The Terry Policy
   25         12.    In TLIC’s records, Angela Terry was designated as the trustee of the
   26   Frank 2000 Irrevocable Trust dated January 28, 2000 (the “Frank Trust”). The
   27   Frank Trust owned Policy No. 60057155.
   28         13.    Attached as Exhibit A is a true and correct copy of a duplicate policy
                                                       2
             Declaration of Aliza Klau in Support of TLIC’s Response to Objections to Settlement
Case 2:18-cv-05422-CAS-GJS Document 181 Filed 08/17/20 Page 4 of 4 Page ID #:17354



    1   for Policy No. 60057155.
    2         14.      Attached as Exhibit B is a true and correct copy of the MDR increase
    3   letter sent to the owner of Policy No. 60057155. In the letter dated February 1,
    4   2019, TLIC notified the Frank Trust (through its trustee Angela Terry) of an MDR
    5   increase on Policy No. 60057155.
    6         15.      Terry, as trustee, surrendered Policy No. 60057155 in return for
    7   $123,931.47. The surrender was effective May 21, 2019.
    8         16.      Attached as Exhibit C is a true and correct copy of the surrender form
    9   submitted to TLIC for Policy No. 60057155.
   10         17.      According to TLIC’s records, Terry is not the authorized trustee for
   11   the Frank Trust for Policy No. 60060573. TLIC’s records show that a different
   12   trustee is the trustee of record for Policy No. 60060573. TLIC’s records show that
   13   Terry was removed as trustee for Policy No. 60060573 in 2002.
   14   The Sher Policy
   15         18.      Attached as Exhibit D is a true and correct copy of the duplicate policy
   16   for Policy No. 60051266.
   17         19.      Policy No. 60051266 includes the ACE. The Sher Family Trust has
   18   paid sufficient premiums to keep the ACE in effect as of the time of this
   19   declaration.
   20         20.      Attached as Exhibit E is a true and correct copy of the illustration
   21   signed by Mr. Sher at the time Policy No. 60051266 was purchased.
   22
   23         I declare under penalty of perjury under the laws of the United States that the
   24   foregoing is true and correct. Executed on August 17, 2020, in Los Angeles,
   25   California
   26
   27                                      ___________________________
   28                                      Aliza Klau

                                                       3
             Declaration of Aliza Klau in Support of TLIC’s Response to Objections to Settlement
